USCA4 Appeal: 23-1638    Doc: 26        Filed: 06/29/2023   Pg: 1 of 2


                                                                    FILED: June 29, 2023

                           UNITED STATES COURT OF APPEALS
                               FOR THE FOURTH CIRCUIT

                                      ___________________

                                          No. 23-1638
                                   (1:22-cv-00140-MSN-IDD)
                                     ___________________

        CURTIS LEVAR WELLS, JR.

                     Plaintiff - Appellant

        v.

        JAVIER FUENTES, Badge #1666; SCOTT WANEK, Badge #1137; MICHAEL
        P. ARMSTRONG, Badge #331; ASHLEY BARNICKLE, Badge #1574;
        LAUREN LUGASI, Badge #1625; KIMBERLY SOULES, Badge #1630;
        AUSTIN KLINE, Badge #1720; JOHN VANAK, Badge #1399; KEITH
        SHEPHERD; COUNTY OF ARLINGTON; ARLINGTON COUNTY POLICE
        DEPARTMENT; JOHN DOES 1 through 10; UNITED STATES OF AMERICA

                     Defendants - Appellees

                                      ___________________

                                           ORDER
                                      ___________________

              The court grants an extension of the briefing schedule as follows:

              Joint appendix due: 09/07/2023

              Opening brief due: 09/07/2023

              Response brief due: 10/20/2023
USCA4 Appeal: 23-1638    Doc: 26       Filed: 06/29/2023   Pg: 2 of 2




              Any reply brief: 11/09/2023.

                                             For the Court--By Direction

                                             /s/ Patricia S. Connor, Clerk
